                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                               Civil Action No.: 5:18-cv- 00484-BO

                                                   )
EPIC GAMES, INC.,                                  )
                                                   )
                 Plaintiff,                        )
                                                   )
v.                                                 )      FED. R. CIV. P. 56(D) AFFIDAVIT OF
                                                   )         CHRISTOPHER M. THOMAS
BRANDON LUCAS and COLTON                           )
CONTER,                                            )
                                                   )
                 Defendant.                        )
                                                   )


       Christopher M. Thomas, appearing before the undersigned notary and having first been

duly sworn, states as follows:

       1.        I am over 18 years of age, suffer from no known disability, and have personal

knowledge of the facts set forth herein. All the statements in this affidavit are true and correct.

       2.        I am counsel for Epic Games, Inc. (“Epic” or “Plaintiff”), Plaintiff in the above-

captioned case.

       3.        I have reviewed the paper filed by Defendant Brandon Lucas (“Defendant” or

“Lucas”) styled “Motion to Dismiss the Complaint” [D.E. 13] ("Defendant's Motion") along with

Defendant’s accompanying affidavit [D.E. 13-1] ("Defendant's Affidavit").

       4.        I prepared and filed Plaintiff’s Response to Defendant Lucas' Motion to Dismiss

the Complaint (“Epic's Response”).

       5.        Under Fed. R. Civ. P. 12(d), when a party files a motion to dismiss under Fed. R.

Civ. P. 12(b)(6) and presents matters outside the pleadings to the court and the court does not

exclude such matters, the motion to dismiss under Rule 12(b)(6) is converted to a motion for



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summary judgment under Rule 56. Under such circumstances, the nonmovant may, pursuant to

Rule 56(d), show by affidavit that “it cannot present facts essential to justify its opposition” so

that the court may “defer considering the motion or deny it,” “allow time to obtain affidavits or

declarations or to take discovery,” or “issue any other appropriate order.” Id.

       6.        As stated in Epic’s Response, Epic has not had the opportunity to conduct any

discovery at all in this matter. The issues have not yet joined, the scheduling conference has not

yet occurred, and Epic has not had the opportunity to request documents, submit interrogatories,

or cross examine witnesses. I believe that discovery will be necessary for Epic to obtain and

present certain facts and information essential to present an opposition to Defendant’s Motion, if

the motion is converted into a motion for summary judgment.

       7.        Given the very early stage of the case, it is not yet entirely clear precisely what

sort of information Epic will need to obtain to respond to such a motion.

       8.        Below is an under-inclusive list of the information Epic would need to obtain in

order to oppose Defendant’s Motion if it were converted into a motion for summary judgment.

                 (a)    The names, contact information, and other identifying information for all

                        alleged owners, employees, and affiliates of Defendant’s YouTube

                        channels, the Cheat Websites (as that term is defined in the Complaint

                        [D.E. 2]), any provider of cheat software, and Defendant's social media

                        accounts;

                 (b)    Documents related to the cheat software used by Defendant while playing

                        Fortnite;




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                 (c)   Documents related to any agreements Defendant has with other person or

                       entity related to Defendant's use of cheat software in connection with

                       Fortnite;

                 (d)   The names, contact information, and other identifying information for all

                       the uploaders and/or posters of Defendant’s infringing videos (as that term

                       is defined in the Complaint [D.E. 2]);

                 (e)   The names, contact information, and other identifying information for the

                       person or entity described in ¶ 7 of Defendant’s Affidavit;

                 (f)   Information regarding the cheat software the Defendant has used,

                       promoted, created, or sold, and information related to the manner in which

                       Defendant obtained, used, promoted, created, or sold it;

                 (g)   Defendant's tax returns;

                 (h)   Information related to Defendant's agreements with advertisers, websites,

                       and apparel manufacturers;

                 (i)   Information related to donations Defendant has received, payments or

                       other value Defendant has received related in any way to Defendant's

                       YouTube channels, posts, or streaming on any platform, videos, social

                       medial posts, website, or other platform;

                 (j)   Defendant's promotion of any cheat software that was used, or that was

                       designed to be used, in any Fortnite game;

                 (k)   Communications between Defendant and Defendant Colton Conter

                       regarding the cheat software, the YouTube videos, and the other

                       information; and


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                 (1)   Any information related to any of Epic's claims against Defendant.

        9.       In my opinion, summary judgment at this stage of the litigation would be

premature. Epic requests sufficient time to pursue discovery in this litigation in order to be in a

position to properly prosecute its claims against Defendant, and further respectfully requests the

Court decline to convert Defendant's Motion to Dismiss into a Motion for Summary judgment or

to accept the unsworn declaration.

        This the 3rd day of December, 2018.




                                              Christopher M. Thomas
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                                              Attorneys for Plaintiff
                                              Epic Games, Inc.




SWORN TO and subscribed before me

this the'~ day of December, 2018.




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                                 CERTIFICATE OF SERVICE


       This is to certify that a copy of the foregoing AFFIDAVIT OF CHRISTOPHER M.

THOMAS was electronically filed this day with the Clerk of Court using the CM/ECF system

and that a true and accurate copy of it was sent to all parties to this cause by depositing the

original and/or copy hereof, postage pre-paid, in the United States mail, addressed as follows:


                 Brandon Lucas
                 11211 South Military Trail
                 Apt. #5021
                 Boynton Beach, FL 33436
                 juniorolympicgold@gmail.com
                 Defendant, pro se

                 Justin Eldreth
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                 115 S Saint Marys St Ste C
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                 Email: justin@klisheldreth.com
                 Attorney for Defendant Colton Conter



       This the 3rd day of December 2018.

                                             /s/ Christopher M. Thomas
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